Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 1 of 25      PageID #:
                                     444



 CULPEPPER IP, LLLC
 Kerry S. Culpepper, Bar No. 9837
 75-170 Hualalai Road, Suite B204
 Kailua-Kona, Hawai’i 96740
 Telephone: (808) 464-4047
 Facsimile: (202) 204-5181
 E-Mail:     kculpepper@culpepperip.com

 Attorney for Plaintiffs

                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Venice PI, LLC,                          )   Case No.: 1:19-cv-169-LEK-KJM
  MON LLC,                                 )   (Copyright)
  Millennium Funding, Inc.,                )
  Bodyguard Productions, Inc.,             )   FIRST AMENDED COMPLAINT;
  TBV Productions, LLC,                    )   EXHIBITS 1-3; DECLARATIONS
  UN4 Productions, Inc., and               )   OF ERIC SMITH, MICHAEL
  Hunter Killer Productions, Inc.          )   NOLASCO, BRENT BALDWIN
                                           )   AND TIME TRAVIS LAAPUI
                      Plaintiffs,          )
      vs.                                  )   (1) CONTRIBUTORY
                                           )       COPYRIGHT
  NGUYEN DINH MANH,                        )       INFRINGEMENT
  TECHMODO LTD, AND                        )   (2) INTENTIONAL
  SENTHIL VIJAY SEGARAN                    )       INDUCEMENT
                                           )   (3) DIRECT COPYRIGHT
                                           )       INFRINGEMENT
                      Defendants.          )
                                           )
                                           )

                           FIRST AMENDED COMPLAINT

           Plaintiffs Venice PI, LLC, MON LLC, Millennium Funding, Inc., Bodyguard

 Productions, Inc., TBV Productions, LLC, UN4 Productions, Inc., and Hunter Killer

                                    Exhibit "2"
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 2 of 25             PageID #:
                                     445



 Productions, Inc., (collectively “Plaintiffs”) file this First Amended Complaint

 against Defendants Nguyen Dinh Manh (previously identified as DOE 1), Techmodo

 Limited (previously DOE 2) and Senthil Vijay Segaran (previously DOE 2)

 (collectively “Defendants”), and allege as follows:

                           I.    NATURE OF THE ACTION

           1.    Plaintiffs bring this action under the United States Copyright Act of

 1976, as amended, 17 U.S.C. §§ 101, et seq. (the Copyright Act”) and allege that

 Defendants are liable for inducement, and direct and contributory copyright

 infringement in violation of 17 U.S.C. §§ 106 and 501.

                          II.   JURISDICTION AND VENUE

           2.    This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.    Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and outside

 this jurisdiction with the full knowledge that their acts would cause injury in this

 jurisdiction.

           5.    Defendants cause harm to Plaintiffs’ business within this District by

 diverting customers in this District to unauthorized Internet-based content

 distribution services through, at least, the websites yifymovies.is, yts.lt and yts.ag.

                                             2
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 3 of 25              PageID #:
                                     446



           6.    Defendants have designed their interactive websites to individually

 target Hawaii users based upon their personal information such as web browsing

 history.

           7.    Upon information and belief, Defendants collect log files including the

 Internet Protocol (“IP”) address, Internet Service Provider (“ISP”) and browser type

 of each user who visits their websites.

           8.    Upon information and belief, Defendants use cookies and web beacons

 to store information such as personal preferences of users who visit their websites.

           9.    Upon information and belief, Defendants obtain financial benefit from

 their users in Hawaii via third party advertisements such as Google through the

 Google AdSense program.

           10.   Upon information and belief, Defendants use the cookies, log files

 and/or web beacons to narrowly tailor the website viewing experience to the

 geolocation of the user. Particularly, users in Hawaii receive advertisements based

 upon their location and websites they have previously visited.

           11.   In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

 4(k)(2), the so-called federal long-arm statute, for at least the following reasons: (1)

 Plaintiffs’ claims arise under federal law; (2) the Defendants purposely directed their

 electronic activity into the United States and target and attract a substantial number

 of users in the United States and, more particularly, this District; (3) Defendants do

                                              3
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 4 of 25           PageID #:
                                     447



 so with the manifest intent of engaging in business or other interactions with the

 United State; (4) the Defendants are not subject to jurisdiction in any state’s courts

 of general jurisdiction; and (5) exercising jurisdiction is consistent with the United

 States Constitution and laws.

           12.   Defendants use many United States based sources for their activities

 such as the Internet hosting and nameserver company Cloudflare, Inc.

           13.   Defendants consented to jurisdiction in the United States per

 Cloudflare’s terms of service.

           14.   Defendants promote overwhelmingly if not exclusively motion pictures

 produced by United States companies on their websites.

           15.   Defendant Nguyen Dinh Manh (“Nguyen”) used the United States

 Internet hosting provider Choopa, LLC for hosting services of the YIFY website.

           16.   Defendant Nugyen used the United States provider Paypal to receive

 payments from advertising funds received as a result of clicks to advertisements on

 his interactive YIFY website.

           17.   Defendant Nguyan used the United States email provider Google to

 operate his interactive YIFY website.

           18.   Defendant Nguyen used the United States registrar Namecheap to

 register his domain yifymovies.is, and thereby consented to jurisdiction in the United

 States per Namecheap’s terms of service.

                                            4
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 5 of 25            PageID #:
                                     448



           19.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and (c)(3) any of the Defendants not a resident of

 the United States may be sued in this District.

                                      III.     PARTIES

                                     A. The Plaintiffs
           20.    The Plaintiffs are owners of the copyrights for the motion pictures

 (hereafter: “Works”), respectively, as shown in Exhibit “1” and listed below.

                    OWNER                MOTION PICTURE               Copyright
                                                                      Certificate
                                                                       Number
                                             Once Upon a Time in      PA2039391
                 Venice PI, LLC
                                                   Venice
                                                 Singularity          PAu3848900
                   MON LLC
                                        Mechanic: Resurrection        PA1998057
             Millennium Funding,
                     Inc.
                                                The Hitman’s          PAu3844508
            Bodyguard Productions,
                                                 Bodyguard
                    Inc.
                                                I Feel Pretty         Pau3896491
            TBV Productions, LLC
                                              Boyka: Undisputed      PA0002000772
             UN4 Productions, Inc.
                                                Hunter Killer         PA2136168
                  Hunter Killer
                 Productions, Inc.



                                       B. The Defendants

           21.    Defendant Nguyen is a resident of Vietnam.

                                                5
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 6 of 25           PageID #:
                                     449



           22.   Defendant Nguyen operated an interactive website http://yifymovies.is

 (hereafter: “YIFY Website”) until about May 23, 2019.

           23.   The YIFY website included a library of copyright protected motion

 pictures, including Plaintiffs’, that could be streamed by users for free.

           24.   Defendant Nguyen stated on the YIFY website, “Welcome to the

 official YIFY website. Here you will be able to browse and watch YIFY Movies

 online for free in excellent BluRay quality with the English subtitle.”




           25.   Defendant Nguyen operated many other piracy websites such as

 gomoviesfree.is, fmoviesfree.is, watchasap.is, yesmovies.to, 9movies.is and

 123movies.is which provided similar streaming services of copyright protected

 motion pictures.

                                            6
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 7 of 25           PageID #:
                                     450



           26.   Defendant Nguyen’s websites 123movies.is and fmoviesfree.is were

 noted by the Office of the United States Trade Representative (“USTR”) as

 examples of Notorious Markets defined as an online marketplace reportedly

 engaged in and facilitating substantial piracy. See USTR, 2018 Out-of-Cycle Review

 of    Notorious     Markets,     April   2019,   pgs.   2,   4,   18,   Available   at

 https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [accessed on

 June 13, 2019].

           27.   Defendant Techmodo Limited (“Techmodo”) is a private limited

 company incorporated under the laws of England and Wales.

           28.   Defendant Senthil Vijay Segaran (“Segaran”) is an individual residing

 in England and is the sole shareholder in Techmodo.

           29.   Defendants Techmodo and Segaran operate and/or exercise control

 over an interactive website www.yts.lt (hereafter: “YTS website”) which includes

 a library of torrent files for copyright protected motion pictures, including

 Plaintiffs’. The torrent files can be used by a BitTorrent client application to

 download motion pictures for free. Upon information and belief, Defendants

 Techmodo and Segaran previously operated the websites yts.gg, yts.am and yts.ag,

 which now redirects to yts.lt.




                                             7
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 8 of 25           PageID #:
                                     451



           30.   Defendants Techmodo and Segaran state on the YTS website, “Here

 you will be able to browse and download YIFY movies in excellent 720p, 1080p

 and 3D quality…”




           31.   Defendants Techmodo and Segaran begin redirecting the YTS website

 to the domain yts.lt on or about June 3, 2019 in response to the present litigation.

           32.   Upon information and belief, Defendants Techmodo and Segaran

 operate and/or exercise control over many other movie piracy websites such as

 piratetorrents.net, limetorrents.cc, yourbittorrent.com, rarbg.to, torrentbutler.eu,

 piratetorrents.net, thepiratebay.se.net, torrentz.eu, 1337x.to and extratorrent.cc

 which provided similar torrent files for distributing copyright protected motion

 pictures.




                                           8
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 9 of 25              PageID #:
                                     452



           33.   Defendant Techmodo’s websites rarbg.to and thepiratebay.se.net were

 noted by the USTR as example of a Notorious Market. See USTR supra at pgs. 24,

 27.

                                     IV.    JOINDER

           34.   Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

 joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

 to relief arising out of the same transaction, occurrence, or series or transactions,

 namely the distribution of and use of YIFY and YTS websites for streaming and

 distributing Plaintiffs’ Works; and (b) that there are common questions of law and

 fact.

           35.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

 properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

 right to relief arising out of the same transaction, occurrence, or series or

 transactions, namely the distribution of Plaintiffs’ Works via the YIFY and YTS

 websites of Defendants; and (b) there are common questions of law and fact.

                           V.     FACTUAL BACKGROUND
           A. The Plaintiffs Own the Copyrights to the Works

           36.   The Plaintiffs are the owners of the copyright in the Works,

 respectively. The Works are the subjects of copyright registrations, and this action

 is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

                                              9
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 10 of 25              PageID #:
                                     453



            37.   Each of the Works are motion pictures currently offered for sale in

  commerce.

            38.   Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

            39.   Defendants also had notice of Plaintiffs’ rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

            B. The YIFY and YTS websites

            40.   Upon information and belief, the name YIFY mentioned in the YIFY

  website and the YTS website is derived from the name Yiftach Swery, the founder

  of YIFY Torrent Solutions.

            41.   Upon information and belief, the name YTS mentioned in the YTS

  website is an abbreviation of YIFY Torrent Solutions.

            42.   Upon information and belief, the YIFY website is streaming motion

  pictures from at least torrent sources of the YTS library.

            43.   Upon information and belief, both YIFY and YTS are operating in

  concert. Both the YIFY and YTS websites include what appears to be the same

  trademark – namely a green semi-circle with three large full circles and one small

  full circle therein akin to a traditional movie reel with film extending therefrom.



                                              10
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 11 of 25          PageID #:
                                     454




            44.   The YIFY website of Defendant Nguyen allowed users to stream

  Plaintiffs’ Works.

            45.   Defendant Nguyen does not have a license from Plaintiffs to publicly

  perform or stream copies of Plaintiffs’ Works.

            46.   Upon information and belief, the YIFY website of Defendant Nguyen

  is using source repositories (including those associated with Defendants Techmodo

  and Segaran) to allow users to stream copyright protected content, including

  Plaintiffs’ Works.

            47.   Upon information and belief, the YTS website of Defendants

  Techmodo and Segaran is providing torrent files, many including the name “YTS”

  in their file names, that can be used by a BitTorrent protocol client application

  protocol to download copyright protected content, including Plaintiffs’ Works from

  Torrent sites.      Exhibit “2” (Mechanic Resurrection (2016) [YTS.AG] and

  Singularity (2017) [YTS.AG]).

            48.   Upon information and belief, Defendants Techmodo and Segaran use

  a process referred to as “ripping” to create a copy of motion pictures from either

  Blu-ray or legal streaming services.
                                             11
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 12 of 25               PageID #:
                                     455



            49.   Defendants Techmodo and Segaran sometimes includes words such as

  “YTS” in the titles of the torrent files they create in order to enhance their reputation

  for the quality of his torrent files and attract users to their interactive YTS website.

            50.   Torrent sites are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. When a user of Defendants Techmodo and Segaran’s YTS website select

  a motion picture, the user receives a torrent file associated with that motion picture.

  The user can use a BitTorrent protocol client application to run the torrent file to

  download a copy of the motion picture.

            51.   Defendants Techmodo and Segaran do not have a license from

  Plaintiffs to copy, publicly perform or distribute copies of Plaintiffs’ Works.

            52.   Users of the websites of Defendants use the websites for their intended

  and unquestionably infringing purposes, most notably to obtain immediate,

  unrestricted, and unauthorized access to unauthorized copies of Plaintiffs’

  Copyrighted Works.

            53.   Defendants promote their websites for overwhelmingly, if not

  exclusively, infringing purposes, and that is how the users use the websites.

            54.   The commercial value of Defendants’ websites depends on high-

  volume use of unauthorized content through the website. Defendants promise their

  users reliable and convenient access to all the content they can watch and users visit

                                              12
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 13 of 25         PageID #:
                                     456



  the websites based on Defendants’ apparent success in delivering infringing content

  to their customers.

            55.   Defendant Nguyen streamed copies of the motion picture Once Upon

  A Time In Venice via the YIFY website.




            56.
            57.   Defendant Nguyen streamed copies of the motion picture Mechanic:

  Resurrection via the YIFY website.




                                           13
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 14 of 25          PageID #:
                                     457




            58.
            59.   Defendant Nguyen streamed copies of the motion picture I Feel Pretty

  via the YIFY website.




                                             14
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 15 of 25          PageID #:
                                     458




            60.
            61.   Defendant Nugyen streamed copies of the motion picture Hunter Killer

  via the YIFY website.




                                             15
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 16 of 25           PageID #:
                                     459




            62.
            63.   Plaintiffs’ agents monitored the Internet traffic associated with the

  YIFY website while streaming the motion pictures and recorded the IP addresses

  which are likely the sources of the content. Exhibit “3”.

            64.   One of the IP addresses (169.54.206.44) shown in Exhibit “3” is

  controlled by the US Company Zeta Global, Inc., which operates an Internet

  comment platform called “Disqus”.

            65.   Defendant Nguyen hid links for streaming Plaintiffs’ motion pictures


                                             16
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 17 of 25            PageID #:
                                     460



  in comments in the Disqus comment platform provided by the US company Zeta

  Global.

            66.   Michael Nolasco, a resident of Hawaii, used the YTS website of

  Defendants Techmodo and Segaran to copy and share multiple copies of the motion

  picture The Hitman’s Bodyguard on Sept. 3, 2017 to Sept. 27, 2017 at IP address

  72.234.162.87. See Decl. of Nolasco at ¶7.

            67.   Michael Nolasco used the YTS website to copy the motion picture

  Once Upon a Time in Venice on November 19, 2017 at IP address 72.234.162.87.

            68.   Michael Nolasco used the YTS website to copy the motion picture

  Mechanic: Resurrection on December 24, 2017 at IP address 72.234.162.87. See

  Id. at ¶5.

            69.   Michael Nolasco used the YTS website to copy the motion picture

  Singularity on February 13, 2018 at IP address 72.234.162.87. See Id. at ¶6.

            70.   Michael Nolasco used the YIFY website of Defendant Nguyen to

  stream at least a portion of the motion picture Hitman’s Bodyguard sometime in or

  after 2017. See Id. at ¶8.

            71.   Brent Baldwin, a resident of Hawaii, used the YTS website of

  Defendants Techmodo and Segaran to copy a portion of the motion picture The

  Hitman’s Bodyguard on Nov. 2, 2017 at IP address 174.239.5.113. See Decl. of

  Baldwin at ¶9.

                                           17
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 18 of 25           PageID #:
                                     461



            72.    Brent Baldwin used the YTS website to copy a portion of the motion

  picture Once Upon a Time in Venice on Feb. 11, 2018 at IP address 174.239.5.113.

  See Id. at ¶8.

            73.    Brent Baldwin used the YIFY website of Defendant Nguyen to stream

  copies of the motion pictures Singularity and Mechanic: Resurrection in 2017. See

  Id. at ¶¶3, 7.

            74.    Brent Baldwin and Michael Nolasco were motivated to infringe

  Plaintiffs’ Works from the promotional language of Defendants’ YIFY and YTS

  websites.

            75.    Brent Baldwin and Michael Nolasco used Defendants’ YIFY and YTS

  websites exactly as instructed by Defendants to infringe the Works.


                             VI. FIRST CLAIM FOR RELIEF
                                    (Intentional Inducement)

            76.    Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            77.    Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

            78.    Defendants have actual knowledge of third parties’ infringement of

  Plaintiffs’ exclusive rights under the Copyright Act.

            79.    Defendants intentionally induced the infringement of Plaintiffs’

                                             18
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 19 of 25           PageID #:
                                     462



  exclusive rights under the Copyright Act, including infringement of Plaintiffs’

  exclusive right to publicly perform and distribute copies of Copyrighted Works.

            80.   As intended and encouraged by Defendant Nguyen, the YIFY website

  connects users to sources and/or sites that publicly perform copies of Plaintiffs’

  Copyrighted Works. The operators of these sources directly infringe Plaintiffs’

  exclusive rights by providing unauthorized public performances of the works to the

  public, including to users of Defendant Nugyen’s website.

            81.   These operators, or others operating in concert with them, control the

  facilities and equipment used to store and distribute the content, and they actively

  and directly cause the content to be performed when users click on a link for the

  content on the YIFY website of Defendant Nguyen.

            82.   As intended and encouraged by Defendants Techmodo and Segaran,

  the YTS website provides torrent files that connect users to Torrent sources and/or

  sites that deliver copies of Plaintiffs’ Copyrighted Works. The operators of these

  Torrent sources directly infringe Plaintiffs’ exclusive rights by providing

  unauthorized copies of the works to the public, including to users of Defendants

  Techmodo and Segaran’s website.

            83.   Once the user of Defendants Techmodo and Segaran’s website has

  obtained a complete copy of the Plaintiffs’ Copyrighted Works, that particular user

  also becomes another Torrent source that delivers copies of Plaintiffs’ Copyrighted

                                             19
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 20 of 25           PageID #:
                                     463



  Works.

            84.   Defendants Techmodo and Segaran induce the aforementioned acts of

  infringement by supplying the torrent files that facilitate, enable, and create direct

  links between their users and the infringing Torrent sources, and by actively

  inducing, encouraging and promoting the use of the website for blatant copyright

  infringement.

            85.   Defendants Techmodo and Segaran’s intentional inducement of the

  infringement of Plaintiffs’ rights in each of their Copyrighted Works constitutes a

  separate and distinct act of infringement.

            86.   Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted

  Works is willful, intentional, and purposeful, and in disregard of and with

  indifference to the rights of the Plaintiffs.

            87.   Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

                             VII. SECOND CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                                        Contribution)

            88.   Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            89.   Defendants have actual or constructive knowledge of infringement of

  Plaintiffs’ exclusive rights under the Copyright Act. Defendants knowingly and

                                              20
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 21 of 25            PageID #:
                                     464



  materially contribute to such infringing activity.

            90.   Defendant Nguyen knowingly and materially contributes to the

  infringement of Plaintiffs’ exclusive rights under the Copyright Act, including

  infringement of Plaintiffs’ exclusive right to publicly perform their works.

  Defendant Nguyen designs and promotes the use of the YIFY website to connect

  customers to unauthorized online sources that stream copies of Plaintiffs’

  Copyrighted Works. The operators of these source repositories directly infringe

  Plaintiffs’ public performance rights by providing copies of the works to the public,

  including to users of the YIFY website. The operators, or others operating in concert

  with them, control the facilities and equipment used to store and deliver copies of

  the content, and they actively and directly cause the content to be streamed when

  users click on a link of the YIFY website for the content.

            91.   Defendant Nguyen knowingly and materially contributes to the

  aforementioned acts of infringement by supplying the YIFY website that facilitates,

  encourages, enables, and creates direct links between website users and infringing

  operators of the streaming services, and by actively encouraging, promoting, and

  contributing to the use of the website for blatant copyright infringement.

            92.   Defendants Techmodo and Segaran knowingly and materially

  contribute to the infringement of Plaintiffs’ exclusive rights under the Copyright Act,

  including infringement of Plaintiffs’ exclusive right to distribute their works.

                                            21
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 22 of 25            PageID #:
                                     465



  Defendants Techmodo and Segaran design and promote the use of the YTS website

  to provide torrent files that connect customers to unauthorized online torrent sources

  to download copies of Plaintiffs’ Copyrighted Works. The operators of these torrent

  sources directly infringe Plaintiffs’ distribution rights by providing copies of the

  Works to the public, including to YTS website users. The operators, or others

  operating in concert with them, control the facilities and equipment used to store and

  deliver copies of the the content, and they actively and directly cause the content to

  be distributed when users run the torrent file obtained from the YTS website.

            93.   Defendants knowingly and materially contributes to the aforementioned

  acts of infringement by supplying the website that facilitates, encourages, enables,

  and creates direct links between website users and infringing operators of the

  streaming and Torrent services, and by actively encouraging, promoting, and

  contributing to the use of the website for blatant copyright infringement.

            94.   Defendants’ knowing and material contribution to the infringement of

  Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and

  distinct act of infringement.

            95.   Defendants’ knowing and material contribution to the infringement of

  Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in disregard

  of and with indifference to the rights of Plaintiffs.

            96.   As a direct and proximate result of the infringement to which

                                             22
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 23 of 25             PageID #:
                                     466



  Defendants knowingly and materially contributes, Plaintiffs are entitled to damages

  and Defendants’ profits in amounts to be proven at trial.

            97.     Defendants obtained a direct financial interest, financial advantage,

  and/or economic consideration from the infringements in Hawaii as a result of their

  infringing actions in the United States.

            98.     Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

                                VIII. THIRD CLAIM FOR RELIEF
                  (Direct Copyright Infringement against Defendants Techmodo and
                                             Segaran)

            99.     Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            100. Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

            101. Defendants Techmodo and Segaran copied the constituent elements of

  the registered Works of Plaintiffs and created torrent files for distributing the

  Works.

            102. As a result of the foregoing, Defendants Techmodo and Segaran

  violated the Plaintiff’s exclusive right to: (A) Reproduce the Work in copies, in

  violation of 17 U.S.C. §§ 106(1) and 501.

            103. Each of the Defendants Techmodo and Segaran’s infringements was

                                               23
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 24 of 25               PageID #:
                                     467



  committed “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

            104. By engaging in the infringement alleged in this First Amended

  Complaint, the Defendants deprived not only the producer of the Works from

  income that could have been derived when these films were shown in public theaters

  and offered for sale or rental, but also all persons involved in the production and

  marketing of this film, numerous owners of local theaters and retail outlets in

  Hawai’i and their employees, and, ultimately, the local economy. The Defendants’

  misconduct therefore offends public policy.

            105. The Plaintiffs have suffered damages that were proximately caused by

  each of the Defendants’ copyright infringements including, but not limited to lost

  sales, price erosion, and a diminution of the value of its copyright.

                                  PRAYER FOR RELIEF

            WHEREFORE, the Plaintiffs respectfully requests that this Court:

            (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to contribute to infringement of the Plaintiffs’

  copyrighted Works;

            (B) Entry of an Order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

  that, Cloudflare and any other service provider cease providing service for the

  websites: (i) yifymovies.is; (ii) yts.ag; and (iii) yts.lt immediately cease said service;

            (C) that, upon Plaintiffs’ request, those in privity with Defendants and those

                                              24
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-3 Filed 10/24/19 Page 25 of 25                  PageID #:
                                     468



  with notice of the injunction, including any Internet search engines, Web hosts,

  domain-name registrars, and domain name registries and/or their administrators that

  are provided with notice of the injunction, cease facilitating access to any or all

  domain names and websites through which Defendants engage in the

  aforementioned infringements;

            (D) award the Plaintiffs’ actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

            (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

  17 U.S.C. § 505; and

            (F) grant the Plaintiffs any and all other and further relief that this Court deems

  just and proper.

            The Plaintiffs hereby demand a trial by jury on all issues properly triable by

  jury.

            DATED: Kailua-Kona, Hawaii, October 24, 2019.


                                       CULPEPPER IP, LLLC


                                       /s/ Kerry S. Culpepper
                                       Kerry S. Culpepper

                                       Attorney for Plaintiffs


                                                25
  20-015A
